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                      THE UNITED STATES DISTRICT COURT
16
                      SOUTHERN DISTRICT OF CALIFORNIA
17

18
     WHITEWATER DRAW NATURAL,                 Case No. 3:16-cv-2583
19   RESOURCE CONSERVATION
20   DISTRICT et al,
                                              PROOF OF SERVICE
21
                        Plaintiffs,
22                                            Date: July 3, 2017
                v.                            Time: 10:30 a.m.
23
                                              Courtroom: 5B
24   JOHN F. KELLY, et al.,
25
                                              Hon. H. James Lorenz

26
                        Defendants.
27

28




     1                                                Case No: 3:16-CV-2583
     Case 3:16-cv-02583-L-BLM Document 33-3 Filed 06/16/17 PageID.1667 Page 2 of 2



1                              CERTIFICATE OF SERVICE
2
     I hereby certify that on June 16, 2017, the Plaintiffs’ Statement of Reasons in
3

4    Opposition to Defendants’ Motion to Stay and Memorandum of Points and
5
     Authorities in Opposition to Defendants’ Motion to Stay and associated papers
6

7
     were filed with the Clerk of Court via the CM/ECF system, which will provide

8    service to counsel for the parties.
9
                                                   /s/ Julie B. Axelrod
10
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